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UNITED STATES DISTRICT COURT

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DANIEL E. CARPENTER

v. CRIMINAL NO. 04-cr-10029-GAO

UNITED STATES OF AMERICA

 

MR. CARI’ENTER’S MOTION TO VACATE HIS CONVICTION AND DISMISS HIS
INDICTMENT FOR MULTIPLE VIOLATIONS OF BRADY, JENCKS, BAGLEY,
GIGLIO, AND NAPUE, AND THE KNOWING USE OF PERJURY AND FALSE
EVIDENCE BY THE GOVERNMENT AT HIS SECOND TRIAL

I. PRELIMINARY STATEMENT
The First Cireuit has had a longstanding history and policy that convictions based on the
use of perjured testimony cannot be allowed to stand See, e.g., United States v. Maldonado-

Rivera, 489 F.3d 60 (lst Cir. 2007) (“the government was guilty of the knowing use of perjured

testimony”):

[T]he Brady error rule applies because the government Was guilty of the knowing use of
perjured testimonyl chally, this claim has its roots in a line of Supreme Courl decisions
holding that a conviction obtained through the prosecution’s knowing use of perjured
testimony cannot stand. See, e.g., chpue v. Ilfz`nois, 360 U.S. 264, 269 (1959); Mooney v.
Holohan, 294 U.S. 103, 112 (1935). This case law is potentially significant to the
standard applicable to the adjudication of the defendant’s new trial motion because We
have held that “the Brady error rule should apply to claims of knowing use of perjured
testimony.” Maldonado-Rivera at 67-68, citing Gonzdlez-Gonzcilez at 2].

Yet, in Mr. Carpenter’s case, the Court clearly pointed out that the government’s main Witness,

Gerry Levine from Merrill Lynch, committed outright perjury, and the government knew it:
“Levine's testimony in other respects Was perjurious in this Court'S judgment, and the
government knew ft.” See Unitea’ Srates v. Carpenfer, 808 F.Supp.Zd 366, 389 n.5
(D.Mass.ZOl l), Doc. 377 (emphasis in the Court’s original statement).

Despite the Court pointing out Levine’s obvious and persistent perjury, and the

govemment’s failure to correct any of those lies in front of the ju[y as is their duty under Napue

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and Giglio v. Unitéd States, 405 U.S. 150 (1972), the First Circuit felt the error here Was
harmless because Mr. Carpenter’s attorney did such a great job on Levine’s cross-examination
that the jury must have known Levine lied:
Carpenter consequently Was able to and did cross-examine the lying witness
“vigorously.” The district court therefore determined that a mistrial Was not Warranted on
this basis. On appeal, Carpenter has not identified any reasonable likelihood that the
jury‘s verdict in this case Was impacted by the false testimony in light of his vigorous

cross-examination That ends this attack. United States v. Carpenter, 736 F.3d 619, 631
(lst Cir. 2013)

However, that is not the correct legal standard for an error under Brady-Gz'glz`o in the First
Circuit or anywhere else, and a “vigorous” cross-examination is not a substitute for truthful
testimony, and certainly is not the remedy required by the Supreme Court in Napue and Giglio.
Nor does a “vigorous” cross-examination alleviate the government’s burden, obligation, and
legal duty to bring to the jury’s attention that their witness, Levine, lied, especially in the face of
David Patterson’s testimony that it was Mr. Carpenter Who set up the conference call between
Attomey Patterson and Mr. Levine to discuss the development of the future escrow account
documentation for Attorney Patterson’s client, who was the first Exchangor. Levine testified
that he was not on that call, and that he did not receive any of the documents that Attomey
Patterson and Mr. Carpenter sent him. Even Marty Paley testified that he spoke With Levine
several times. Most importantly, though, Mitch Rock testified that Levine set up the decisive
conference call and Was on the call where Mr. Carpenter was “handed-off’ from Merrill Lynch
to PaineWebber, yet Mr. Levine recalled none of these phone calls. The Court even asked Mr.
Levine to consider if it was a question of not remembering or not actually being on the call, and
Mr. Levine was adamant that he was not any of these phone calls, despite the contrary testimony

of other witnesses

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The reason that this perjury by Levine is so important is that, contrary to Judge Kayatta’s
“nutshell” description, Mr. Carpenter never lied to anyone, nor did he know anything about the
Exchangors until they Wanted their money out. Mr. Carpenter did not “deceive” anyone, nor did
he make any written or oral misrepresentations to anyone as charged in the Indictment. Instead,
the lies of the Merrill Lynch witnesses hurt Mr. Carpenter’s Good Faith defense as in “If he
Would lie to Merrill, he could certainly lie to the Exchangors.” As it turns out, he did not lie to
anyone as can be seen from a lawsuit against Merrill filed not by Gail Cahaly, but by Joe
Iantosca in February 2008, before Mr. Carpenter’s second trial. See Iantosca v. Merrill lawsuit
attached as Exhibit One. ln that lawsuit, it clearly states that Mr. Carpenter and Mr. Paley told
Merrill that the funds were third-party funds for a qualified property exchange under IRC Section
1031. Mr. Carpenter should have been provided with a copy of that lawsuit by the government,
but did not learn of its existence until the middle of 2009.

Iantosca also filed lawsuits against Mr. Carpenter’s affiliates in June and September of
2008, but Was somehow “too sick” to testify at Mr. Carpenter’s trial in June of 2008, so all of` the
Iantosca prejudicial statements from the first trial were allowed to come in to the second trial, but
without the benefit of Mr. Carpenter being allowed to ask Mr. Iantosca if he had received all of
his money back plus interest The government even did a Motion in Limine to keep this truth
away from the jury and out of Mr. Carpenter’s second trial. Not only is this a flagrant violation
of the Conf`rontation Clause under Crawford v. Washz'ngton, 541 U.S. 36 (2004), this is the type
of prosecutorial vindictiveness that infected both 0f` Mr. Carpenter’s trials and now requires a
Vacating of Mr. Carpenter’s conviction and a dismissal of his indictment because he was
deprived of his liberty without Due Process, a Fair Trial, or even the “fundamental fairness”

required of the government that justice be done under Berger v. Um'tea’ States, 295 U.S. 78

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(1935). See, also, United States v. Ccimeron, 669 F.3d 621 (lst Cir. 2012) (First Circuit vacating
conviction based on inadvertent violation of Confrontation Clause).

In fact, it was not until May of 2016 - two years after Mr. Carpenter had been in prison
for a “non-crime” that he did not commit _ that Judge Roach published her revealing opinion in
Cahaly v. Merrill Lynch, No. 01-0116-BLS2 (Suff. Sup. Court April 12, 2016) in the Cahaly
litigation that is still ongoing (albeit Mr. Carpenter and BPETCO have settled all claims with the
Exchangors), which showed that not only did Levine lie, all of the Merrill government witnesses
lied, including Rasmussen, Stem, Hassan Tabbah, and Kevin Duffy, and the government knew
L. Judge Roach also discussed statements and letters sent by Merrill Witnesses and attorneys that
were sent to the government agencies but never given to Mr. Carpenter or the defense. This now
brings up a clear Jencks Act violation as well as Brady-Giglio-Bagley and Napue violations for
all of the Merrill witnesses statements to the SEC and NASD that Were never turned over to Mr.
Carpenter or either of his defense teams. Not only is this a clear violation of the law, it is another
example of the prosecutorial misconduct and vindictiveness that Mr. Carpenter faced in this case.
Judge Roach’s Opinion makes clear that everyone at Merrill including their attorneys, and
specifically Stern and Rasmussen as well as Levine, lied to Mr. Carpenter’s Jury, the Court, the
SEC, the NASD, FBI Agent Caldwell, and therefore by reference also lied to the Grand Jury in
Mr. Carpenter’s case because all FBI Agent Caldwell did as the only witness in front of the
,Grand Jury was repeat all of the lies he had been told by Merrill’s representatives Based on
Judge Roach’s Opinion (excerpts attached as Exhibit Two), this Court must vacate Mr.
Carpenter’s conviction because r_a_L_L of the Merrill witnesses lied, and the government knew it.

What Judge Roach’s 2016 Opinion also makes clear is that Merrill Lynch set out to

blame Mr. Carpenter for not telling Merrill that the money belonged to the Third-Party

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Exchangors. Merrill even concocted experimental mock trials where they changed their stories
to get just the right vote from a potential jury. As it was, the civil jury did not buy the Merrill
lies, but Judge Botsford granted Merrill a JNOV in 2003 that was later overturned and resulted in
more than a decade of ongoing litigation that has resulted in $50 million going to the Exchangors
from settlements from Merrill and PaineWebber based on the litigation brought by Mr. Carpenter
and BPETCO against PaineWebber and Merrill. However, despite the lies told by Merrill
executives and their attomeys, and perhaps because of the Exchangors’ huge windfall in this
case, Judge Roach refused to blame or penalize Attomey Snyder or Bingham-McCutchen for the
16-year ongoing saga that still continues to this day on appeal:
Because it is impossible to know whether plaintiffs and Merrill Lynch Would have
reached a settlement agreement in 2002, Bingham's misconduct may have been the sole
basis for the past thirteen years of litigation in this case. Bingham certainly caused the
expenditure of substantial resources of the parties and the Commonwealth which could
have been far better spent." Plaintiffs' Proposed Rulings of Law at page 21 (emphasis
supplied). 1 daresay no seasoned trial or appellate judge who has touched this case could
agree that all of the now fifteen years of litigation is to be blamed solely on the conduct
of Bingham, and l respectfully decline to so find or rule. Judge Roach Op. at *47-48.
Unfortunately, this Due Process nightmare continues to linger for Mr. Carpenter 17 years
later, despite the fact that the Exchangors have netted $50 million on their $8 million loss from
the year 2000, and Bingham-McCutchen is gone, Merrill Lynch was bought, PaineWebber Was
bought, and even Merrill’s new law firm Dickstein Shapiro went out of business in 2016, thereby
leaving Mr. Carpenter as the only survivor of the BPETCO debacle, and two trials that were
infected by perjury, prosecutorial misconduct, and fundamental unfairness Because most of the
government witnesses lied at Mr. Carpenter’s second trial including Paley, Mitch Rock,
Rasmussen, Stern, and Levine and the “government knew it,” Mr. Crpenter respectfully asks the

Court to vacate his conviction under Brady-Jencks and Giglz`o-Napue, and to dismiss his

Indictment based on the government’s pernicious prosecutorial misconduct in this case.

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II. MR. CARPENTER’S CONVICTION MUST BE VACATED AND HIS
INDICTMENT DISMISSED IN THE INTERESTS OF JUSTICE DUE TO THE
GOVERNMENT’S KNOWING USE OF PERJURY AND FALSE EVI_DENCE

There is a mountain of newly-discovered evidence from the Exchangors’ lawsuit against
Merrill Lynch and Bingham McCutchen that has appeared since my second trial of 2008. The
newly-discovered lies and material Brady-Gz'glio-Bagley evidence continues to accumulate even
at this late date. The “cumulative weight” of this newly-discovered evidence should have
produced a new trial under the defendant-friendly “Kyles and Strickler” standard See, e.g., the
First Circuit’s opinion in United States v. Flores-Rivera, 56 F.3d 319 (lst Cir. 1995), where the
First Circuit makes clear that:

“If the evidence viewed in the light most favorable to the verdict gives equal or nearly

equal circumstantial support to a theory of guilt and a theory of innocence of the crime

charged,” a motion for judgment of acquittal must be granted. This is so because . . .

where an equal or nearly equal theory of guilt and a theory of innocence is supported by
the evidence viewed in the light most favorable to the prosecution, a reasonable jury must
necessarily entertain a reasonable doubt.” Flores-Rz'vera at 323 (emphasis in original).

lt has been discovered in the ongoing civil cases that Levine Was not the only person to
lie; Stem and Rasmussen also lied, and Judge Roach based her 50-page decision on the fact
Martin Malia downloaded the BPETCO information from the website and faxed it to Rasmussen,
but then lied and changed the story when talking to Snyder, Merrill Lynch’s attorney at the time.
See, e.g., Judge Roach Opinion attached as Exhibit Two. Everyone at Merrill knew that the
BPETCO money was “third-party” client funds and they not only lied to Snyder and Bingham,
Stem and Rasmussen lied to the Court, the SEC, the NASD, FBI Agent Caldwell, and therefore
they also lied to the Grand Jury and the Jury in both of Mr. Carpenter’s trials as well. The Court
already wrote about Paley’s and Mitch Rock’s lies. Now it is clear that Stern, Rasmussen, and

Hassan Tabbah, Merrill’s office manager, also lied to the FBI and Merrill’s own lawyer Snyder,

as did Martin Malia, the Merrill Compliance Director who was the unknown villain in this case.

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See, e.g., Exhibit Two Judge Roach Op. at 40, Paragraph 105, regarding “[Malia’s] concern that
Carpenter and Benistar could come back to bite Merrill.” See, also, Footnote 15: “It is
nonetheless undisputed that'Malia testified in 2009 that he restricted the account in part because
of a concern that Benistar was trading other people’s money.” Based on all these lies, clearly
known by the government at both trials, Mr. Carpenter’s conviction cannot be allowed to stand
in the interests of justice, and his indictment must be dismissed for egregious government
misconduct

Thanks to Judge Roach’s 2016 Opinion, Mr. Carpenter now knows about the multiple
SEC and NASD investigations that were not disclosed to either of his defense teams by the
government, and Attorney Snyder lied in those investigations as well because, allegedly, he was
lied to by all of the brokers and executives at Merrill. Mr. Carpenter has requested but has not
received both the SEC reports, and the two letters sent to the NASD that Judge Roach is holding
back and has not published with her decision. Clearly this is and would have been newly-
discovered and material Brady-Gz`glio-Bagley information to his case that neither the Court, nor
anyone else including Mr. Carpenter or his counsel, knew about these investigations and
Attorney Snyder’s letters, until Judge Roach’s Opinion of 2016. Mr. Carpenter and BPETCO
Were not sued by the NASD or indicted by the SEC, despite several intensive investigations that
he knew nothing of or participated in. If a government investigation (that Mr. Carpenter and
Merrill must have passed) does not constitute Brady-Giglio-Bagley material, what does?
Compare this to the SEC’s ongoing attacks against the hedge fund manager Guy Gentile that
were just recently dismissed by a Federal Court in New Jersey. See SEC v. Gentile, 2017 WL
6371301 (D.NJ. 2017) (Dismissal of pecuniary forfeiture claim against penny-stock fraudster

because the SEC Claim was outside the five year statute of limitations).

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Attorney Snyder also knew about the February 2008 Iantosca lawsuit, the SEC
investigations, the NASD investigations, the Malia file, and the David Patterson information that
came out when Dickstein Shapiro took over in 2009. Snyder as counsel for Merrill Lynch, and

separate counsel for the Exchangors, sat directly behind the prosecution at both of Mr.
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Carpenter’s trials, and unbelievany did not mention any of this information to the prosecution,

including the newly-discovered Iantosca lawsuit against Merrill Lynch of February 2008 which
Mr. Carpenter did not even hear about until April of 2009. Perhaps the prosecution did not think
that they had a duty under Brady and Jenck.s to share this exculpatory information with Mr.
Carpenter. Clearly the Supreme Court disagrees with that decision, based on its recent decision

in Turner v. United States, 137 S.Ct. 1885 (2017):

The Govermnent does not contest petitioners’ claim that the withheld evidence was
“favorable to the accused, either because it is exculpatory, or because it is impeaching.”
Strz'ckler v. Greene, 527 U.S. 263, 281-82 (1999). Neither does the Government contest
petitioners’ claim that it “suppressed” the evidence, “either Willfully or inadvertently.” Id.
at 282. lt does, as it must, concede that the Braa’y rule’s “‘overriding concern [is] with the
justice of the finding of guilt,”’ United States v. Bagley, 473 U.S. 667, 678 (1985)
(quoting United States v. Agurs, 427 U.S. 97, 112 (1976)), and that the Governrnent’s
“‘interest . . . in a criminal prosecution is not that it shall win a case, but that justice shall
be done,”’ Kyles v. Whitley, 514 U.S. 419, 439 (1995) (quoting Berger v. United States,
295 U.S. 78, 88 (1935)). Consistent with these principles, the Government assured the
Court at oral argument that subsequent to petitioners’ trial, it has adopted a “generous
policy of discoveg” in criminal cases under which it discloses any “information that a
defendant might wish to use.” Tr. of Oral Arg. 47-48. As We have recognized, and as the
Government agrees, id., “[t]his is as it should be.” Kyles, supra, at 439 (explaining that a
“‘prudent prosecutor[’s]”’ better course is to take care to disclose any evidence favorable
to the defendant (quoting Agurs, supra, at 108)). Turner at 1893, citing Cone v. Bell, 556
U.S. 449, 469-70 (2009) (emphasis added).

Assuming arguendo, even if Attorney Snyder purposefully hid all of the Merrill lies from
the government, his knowledge is still imputed to the government because Snyder was there for
each and every 302 Report used against Mr. Carpenter in his Grand Jury hearing and sat behind

the government every day of his 2008 trial. Moreover, the knowledge of the SEC and NASD

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investigations of Merrill concerning BPETCO are clearly Brady materials attributable to the
government that should have been turned over to the defense, but were not. This failure alone of
the government to turn over vital material information warranted a new trial in 2013 and now
Warrants the vacating of Mr. Carpenter’s conviction and the dismissal of his indictment

III. JUDGE ROACH’S OPINION GIVES CLEAR AND CONVINCING
EVIDENCE THAT THE GOVERNMENT KNEW ALL ALONG THAT ALL
OF THE MERRILL LYNCH WITNESSES WERE KNOWINGLY OFFERING
PERJURED TESTIMONY

lt has long been established by the First Circuit that they will not allow the use of
perjured testimony or knowingly-false evidence to be used by the government to convict

someone. See, e.g., this statement from a Bivens action in Drumgold v. Callahan, 707 F.3d 28

(lst cir. 2013):

(“[D]ue process cannot be deemed to be satisfied if a state has contrived a
conviction through the pretense of a trial which in truth is but used as a means of
depriving a defendant of liberty through a deliberate deception of court and jury by the
presentation of testimony known to be perjured.”); Pyle, 317 U.S. at 215-
16 (“Petitioner's papers are inexpertly drawn, but they do set forth allegations that his
imprisonment resulted nom perjured testimony, knowingly used by the State authorities
to obtain his conviction, and from the deliberate suppression by those same authorities of
evidence favorable to him.”);Napue v. Illinois, 360 U.S. 264, 269 (1959) (recognizing
“[t]he principle that a State may not knowingly use false evidence, including false
testimony, to obtain a tainted conviction”); Limone, 372 F.3d at 45 (“[T]hose charged
with upholding the law are prohibited from deliberately fabricating evidence and framing
individuals for crimes they did not commit.”); Haley, 657 F.3d at 49 (“Deliberatc
concealment of material evidence by the police, designed to grease the skids for false
testimony and encourage wrongful conviction, unarguably implicates a defendant's due
process rights.”). Compare Brady, 373 U.S. at 87 (specifying that the due process right
recognized in that case applies ~“irrespective of the good faith or bad faith of the
prosecution”). Drumgold at 61.

lt is also the established law of the United States that a conviction obtained through
testimony the prosecutor knows to be false is repugnant to the Constitution. See, e.g., Mooney v.
Holohan, 55 S.Ct. 340 (1935). As the Supreme Court stated in its unanimous decision in Giglio:

“It has long been established that the prosecutor’s deliberate deception of a court and jurors by

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the presentation of known false evidence is incompatible with rudimentary demands of justice.”
Giglz'o v. United States, 405 U.S. 150, 153 (1972). See, also, a case mentioned several times in
the govemment’s previous reply briefs, Banks v. Dretke, 540 U.S. 668 (2004): “A conviction
based on testimony known by the prosecutor to be perjurious is a denial of due process.”

The First Circuit has also made it clear that the knowing use of perjured testimony is also
considered to be a serious Brady violation, and requires the order of a new trial. See United
States v. Gonzalez-Gonzalez, 258 F.3d 16, 21 (lst Cir. 2001), citing Strickler v. Green, 527 U.S.
263, 280-81 (1999). In Drumgold, above, the First Circuit described Mooney’s core premise as
“Well~settled” in the First'Circuit citing to Coggins v. O’Brien, 188 F.2d 130, 138 (lst Cir. 1951),
and citing the Supreme Court’s unanimous decision in Napue v. Illinoz`s, 360 U.S. 264, 269
(1959), that was also cited by the Supreme Court’s unanimous decision in Giglio. The First
Circuit goes on in citing Limone v. Condon, 372 F.3d 39 (lst Cir. 2004), citing Miller v. Pate,
386 U.S. 1 (1967): “In 1967, the very year the crimes took place, Justice Stewart, writing for a
unanimous court stated ‘More than 30 years ago this Court held that the Fourteenth Arnendment
cannot tolerate a state criminal conviction obtained by the knowing use of false evidence. There
has been no deviation from that established principle.”’ Miller at 7. See, also, Ouimette v.
Moran, 942 F.2d 1 (lst Cir. 1991), where the First Circuit vacated defendant’s conviction
because the government withheld evidence of defendant’s partner’s criminal background).

As the Court will recall, Mr. Carpenter submitted over 30,000 pages showing that all of
the Merrill witnesses lied, including excerpts from Merrill Lynch’s General Counsel
Bevilacqua’s deposition and the 2010 Dickstein Shapiro depositions, where Bevilacqua stated
that he was very disappointed in the conduct of certain individuals at Merrill, and he recognized

that they had all lied at Mr. Carpenter’s trials. In his 2010 deposition, General Counsel

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Bevilacqua testified that he was “dismayed” at the “inconsistencies” between the recently
produced documents and the trial testimony of Rasmussen, Stern, and Levine.

Judge Roach also refers to Merrill’s General Counsel Bevilacqua, as well as other Merrill
executives’ testimony that it was clear to them that a number of people at Merrill had been lying
for many years, participating in the Snyder and Bingham lies and cover-up of lies, as well as the
destruction and spoliation of evidence This Court, as well as the First Circuit, was supposed to
take into consideration “the cumulative impact of all of the newly-discovered evidence.” See
Kyles at 420. As the Supreme Court has described, the govemment’s conduct in this case clearly
warranted a new trial as the case was “infested with constitutional errors.” See Wood v.
Bartholomew, 516 U.S. l, 8 (1995). See, also, Wearry v. Cain, 136 S.Ct. 1002 (2016), where
only g Brady violation took a convict off of death row and required a new trial:

“[T]he suppression by the prosecution of evidence favorable to an accused violates due

process where the evidence is material either to guilt or to punishment, irrespective of the

good faith or bad faith of the prosecution.” Brady, supra, at 87. See also Giglio

(clarifying that the rule stated in Brady applies to evidence undermining witness

credibility). “Evidence qualifies as material when there is “grv reasonable likelihood”

it could have affected the verdict Giglz°o v. United States, 405 U.S. 150 (1972) (quoting

Napue v. Illinois, 360 U.S. 264, 271 (1959)). To prevail on his Brady claim, Wearry need

not show that he “more likely than not” would have been acquitted had the new evidence

been admitted Smith v. Cain, 132 S.Ct. 627, 629-631 (2012). He must show only that the
new evidence is sufficient to “undermine confidence” in the verdict. Ibia'.” Wearry at

1006 (emphasis added) (internal quotation marks omitted).

Now Mr. Carpenter seeks the delayed justice of having his conviction vacated, his
indictment dismissed, and his good name restored based on the government’s egregious violation
of his constitutional rights in the knowing use of evidence they knew to be false and outright
perjury that they heard twice in two trials in 2005 and 2008. Sad, but true, had Mr. Carpenter
had Judge Roach’s Opinion in 2013 instead of May 2016 (see Doc. 545), Mr. Carpenter’s life

Would have been totally different

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Clearly Judge Roach’s Opinion shows that Attorney Snyder coached the Merrill
witnesses to lie, and because of their repeated lies in the civil forum, they had to continue
repeating those lies in Mr. Carpenter’s criminal trials in 2005 and 2008, and the government
worked in concert with Attorney Snyder to subom knowing perjury in both of his trials as well as
the civil litigation With the Exchangors after 2008. The government attorneys had frequent and
repeated meetings with Attorney Snyder as if Attorney Snyder was, in reality, AUSA Snyder.
But nowhere was Mr. Carpenter harmed more than in his Grand Jury, where there was just one
witness, FBI Agent Caldwell, who literally quoted perjurious hearsay evidence from witnesses
that AUSA Pineault had to know were lying, because Mr. Carpenter’s Grand Jury hearing was in
January of 2004, three years after the start of the civil litigation with Merrill, the multiple SEC
and NASD investigations, and after a judgment had already been entered against Merrill Lynch
as well as BPETCO in November of 2002, and there had already been several performances by
Attorney Snyder in front of civil juries where he lied straight-faced to the jurors in closing
arguments, saying that no one at Merrill Lynch had any knowledge that the BPETCO funds were
third-party funds, and did not in fact belong to Mr. Carpenter. See, e.g., Exhibit Twc Judge
Roach Op. at 27-28, Paragraphs 61-65. In 2016, for the very first time, everyone now knew that
all of the Merrill witnesses knew that the BPETCO funds were third-party funds, and they all
lied and perpetuated the lie for 16 years just to save themselves some money in a civil lawsuit at
the cost of an innocent man’s freedom As the Court stated boldly with italicized emphasis:
“Levine's testimony in other respects was perjurious in this Court's judgment, and the
government knew it.” See Doc. 377 at 23, n.5 (emphasis in the Court’s original statement). The
reason this is important is because: “Interestingly, there was no evidence that any of the

exchangors, nor any attorney, accountant, or advisor interacting with [BPETCO] on their behalf,

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ever asked where exactly the funds would end up, nor what Benistar' s interest in the exchange
was.” Carpenter, 808 F.Supp.2d at 391 n.8.

If Mr. Carpenter had available Judge Roach’s Opinion in May of 2013 instead of May of
2016, the First Circuit never would have overturned Mr. Carpenter’s Second New Trial Order
and Mr. Carpenter probably would not have been indicted two weeks later in Connecticut for
another non-crime that he did not commit Therefore, it is Mr. Carpenter’s hope that now armed
with Judge Roach’s Opinion, the Court will immediately vacate Mr. Carpenter’s conviction in
the interests of justice based on the overwhelming weight of this new and cumulative Braa’y-
Giglio-Bagley-Napue and Strz`ckler-Kyles evidence discovered within three years of this Court’s
finding of his guilt in February of 2014 because the government knowingly used false evidence
and the perjured evidence of several witnesses to obtain the unconstitutional conviction of an

innocent man.

IV. IN ADDITION TO THE GIGLIO-NAPUE VIOLATIONS, BOTH TYPES OF
BRADY VIOLATIONS EXIST IN THIS CASE AND REQUIRE THE
VACATING OF MR. CARPENTER’S CONVICTION

As the First Circuit has stated, there are in reality “two types” of Braa'y violations Since
the notorious Senator Ted Stevens prosecutorial misconduct came to light after Mr. Carpenter’s
2008 trial, there are many examples of prosecutorial misconduct in Mr. Carpenter’s case that are
far worse than anything that happened in'Senator Stevens’ unfortunate case. But, as the First
Circuit stated in United States v. Acosta-Colon, 741 F.3d 179 (lst Cir. 2013):

Broadly Speaking, there are two types of Braa'y violations See, e.g., United States v.

Gonzcilez-Gonzcilez, 258 F.3d 16 (lst Cir. 2001). The first occurs when the undisclosed

evidence shows that prosecutors knowingly used perjured testimony or allowed false

testimony to go uncorrected See, e.g., United States v. Agurs, 427 U.S. 97, 103-04

(1976); Giglio, 405 U.S. at 153. For this violation, undisclosed evidence is material “if

there is any reasonable likelihood that the false testimony could have affected the

judgment of the jury.” Agurs, 427 U.S. at 103. The other type of Brady violation occurs
When prosecutors suppress evidence favorable to the defense, even if the evidence does

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not involve false testimony _l'd. at 104. For this violation, evidence is material “if there is

a reasonable probability that, had the evidence been disclosed to the defense, the result

of the proceeding would have been different.” United States v. Bagley, 473 U.S. 667, 682

(1985). The “rcasonable likelihood” and “reasonable probabilitv” standards are

synonymous Acosta-Colon at -195, citing Gonzcilez-Gonzdlez at 21-22 (emphasis added).

Both forms of Brady violations are readily apparent in this case and the First Circuit used
the wrong standard to overturn Mr. Carpenter’s Second New Trial Order. This is especially true
if one considers that Mr. Carpenter is the only- person to have been granted two new trial orders
and that in September 2011, he was an innocent man once again, and he stayed innocent until the
First Circuit overturned his Second New Trial Order two years later on the basis that his
attorneys did such a “vigorous” cross-examination of the persistent perjurer Levine, that the jury
must have known that Levine lied. Not only is that the wrong standard for Brady, Giglio, and
Napue, it does not alleviate the government’s obligation to “jump up” and tell the jury that the
govenrment’s witness lied, In this case, the government only admitted to the Court in a
December 3, 2008 hearing that Levine lied, There was no mention - ever or at any time - that
all of the other Merrill witnesses lied, Nor did anyone, including the Court, tell the Jury that all
of the government witnesses lied. The First Circuit used the wrong standard to review Levine’s
perjury, and they did not consider that all of the other Merrill witnesses lied as well.

Mr. Carpenter’s entire case has been one long litany of prosecutorial misconduct Yet,
rather than attempt to correct any of the Constitutional or Due Process violations in his case, the
First Circuit continues to understate the government misconduct and ignore the truth and avoid
making any decisions critical of the government If the conviction in Flores-Rivera was

overturned at the same time Mr. Carpenter’s conviction was affirmed because the government

failed to turn over Delgado’s “toilet paper” notes, please compare that to Rasmussen, Stem, and

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Levine committing perjury with not just the government’s knowledge, but with the government’s
blessing. See United States v. Flores-Rz'vera, 787 F.3d 1 (lst Cir. 2015):

In analyzing whether there was a Brady violation, we evaluate the strength of the
impeachment evidence and the effect of its suppression in the context of the entire record
to determine its materiality The import of withholding evidence is heightened where the
evidence is highly impeaching or when the witness' testimony is uncorroborated and
essential to the conviction.... We must grant a new trial if, after assessing the significance
of the non-disclosed evidence in the context of trial, the favorable evidence could
reasonably be taken to put the whole case in such a different light as to undermine
confidence in the verdict Flores-Rivera at 17-18, citing Avile's-Colén at 19, and Strickler
at 290 (emphasis in original).

The government also knew about the February 2008 Iantosca v. Merrill Lynch lawsuit
that totally exonerates Mr. Carpenter and shows that he Was innocent of these spurious
accusations See Iantosca Lawsuit attached as Exhibit One. If that is not Brady-Jencks-Giglio-
Bagley information, then nothing is in the First Circuit While the First Circuit played with puns
in overturning Nancy Gray’s conviction with the “50 Shades of Malice” described in United
States v. Gray, No. 13-1909 (lst Cir. 2015), where was the search for criminal mens rea in Mr.
Carpenter’s case that the First Circuit required most recently in United States v. Berroa, 856 F.3d
141, 150 (lst Cir. 2017) (“under the government’s theory, any false statement in an
application . .could constitute a federal crime.”). In Mr. Carpenter’s case, there was no “evil act”
or “evil mind” and he did not lie‘to anyone at any tirne, and the words “specific intent to
defraud” are nowhere to be found in his indictment or his trial transcript, and at this late date the
government has still not pointed to even one written or oral misrepresentation on his part

That, of course, inexorably leads to the Second Circuit’s decision last year in United
States v. Countrywide, 822 F.3d 650 (2d Cir. 2016), which is based largely on famous First
Circuit precedents including McEvoy Travel v. Heritage Travel, 904 F.2d 786 (lst Cir. 1990) and

Sanchez v. Triple-S, 492 F.3d 1 (lst Cir. 2007), both of which have been cited numerous times in

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Mr. Carpenter’s briefs to this Court over the past 14 years As the Second Circuit stated in

Countrywide:

As we noted above, deception is the core of fraud and the key distinction between fraud
and a contractual breach. See, e.g., McEvoy Travel, 904 F.2d at 791-92; Kreimer, 609
F.2d at 128. 'l`he law of these cases is perfectly consistent with our holding today that
fraudulent intent must be found at the time of the allegedly fraudulent conduct .. In
sum, a contractual promise can only support a claim for fraud upon proof of fraudulent
intent not to perform the promise at the time of contract execution. Absent such proof, a
subsequent breach of that promise-even Where willful and intentional_cannot in itself
transform the promise into a fraud. Far from being an arcane limitation, the principle of
contemporaneous intent is, like materiality, one without which “the common law could
not have conceived of ‘fraud.”’ Countrywide at 661-62, citing Nea’er at 22.

The Second Circuit also stated the following in Countrywia'e after analyzing the entire
history of federal mail and wire fraud since Durlana' v. United States, 161 U.S. 306 (1896):

“[w]hat fraud in these instances turns on, however, i_s when the renreseptations were
made and the intent of the promisor at that time. . . . where allegedly fraudulent
misrepresentations are promises made in a contract, a party claiming fraud must prove
naudulent intent at the time of contract execution; evidence of a subsequent, willful
breach cannot sustain the claim.” Countrywide, 822 F.3d at 658 (emphasis in original).

Significantly, this Court echoed these very same sentiments in its decision in this case:

But it is easy, especially for lay jurors, to miss the significant difference between a

failure to live up to a promise after it has been made and a fraudulcl_lt inter_lt in
making the promi_sg never to live up to it The latter Would be the basis for a finding of

specific intent to defraud; the former would not be. Carpenter, 808 F. Supp. 2d at 384.

 

And, at Mr. Carpenter’s sentencing, this Court also stated the following:
This is a unique case I think. . . . This was not a fraud that took money from someone
intending never to return it. lt was actually part of the business plan that it be returned at
some point Dkt. 438 at p. 16.
Therefore, based on the Second Circuit’s recent decision in Countrywide as well as other
major fraud cases across the country and in the First Circuit, and the above statements made by

the Court, Mr. Carpenter believes it is perfectly clear that in completing almost all of the 126

property exchanges he certainly intended to honor all of the 126 agreements There was no

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fraud here, much less “federal” fraud, which is why Mr. Carpenter is challenging the jurisdiction
of the federal court in other motions under the old Rule 12(b)(3)(B) before it changed in
December of 2014. This language has been interpreted to encompass such defenses even if first
raised by a defendant on appeal or by a court of appeals sua sponte. See, e. g., United States v.
Saaa’e, 652 F.2d 1126, 1133 (lst Cir. 1981). See, also, United States v. Rosa-Ortiz, 348 F.3d 33,
36 (lst Cir. 2003) (“jurisdictional challenges to an indictment may be raised at any time, Fed. R.
Crim. P. 12(b)(3)(B). . ..United States v. Mojica-Baez, 229 F.3d 292, 309 (lst Cir. 2000)”).

To aid the Court in seeing that there was no federal fraud in this case, and that the
significant prejudice caused by the multiple Braa’y-Giglio-Bagley-Napue violations require the
vacating of his conviction, Mr. Carpenter offers the following decisions, all of which are
following his second trial of 2008:

Honeycutt v. United States, 137 S.Ct. 1626 (2017):

“Neither the dictionary definition nor the common usage of the word “obtain” supports

t_h:Gconclusion that an individual “obtains” property that was acquired by someone else.”

United States v. Berroa, 856 F.3d 141 (lst Cir. 2017):

“under the government’s theory, any false statement in an application . .could constitute a
federal crime.” - 150.

United States v. Finazzo, 850 F.3d 94 (2d Cir. 2017):

“not every non-disclosure or misrepresentation that could affect someone's decision of
how to use his or her assets is sufficient to support a mail or wire fraud conviction. The
fraudulent scheme must implicate tangible economic harm.” - 111, citing United States v.
Mittelstaedt, 31 F.3d 1208, 1216-17 (2d Cir. 1994).

United States v. Tavares, 844 F.3d 46 (lst Cir. 2016):
Even assuming that there was a “scheme to defraud,” the government did not present
substantial evidence of a mailing “in furtherance of” such a scheme. Hebskie, 549 F.3d

at 35-36. The government points to form rejection letters that OCP staff mailed to
unsuccessful applicants typically after the final candidates Were selected, to satisfy the

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mailing requirement The defendants contend that all letters Were nevertheless mailed
after the scheme reached its fruition Regardless of the exact timing of the mailings
there is no evidence that the letters were material to the consummation of the defendants’
scheme. See Kann, 323 U.S. at 94: “It was immaterial to [the defer__rg_antsl, or to anv
consummation of the scheme, how the bank which paid or credited tl_ie check would
collect from the drawee bank.” - 59.

United States v. Countrywide, 822 F.3d 650 (2d Cir. 2016):

A defendant's failure to disclose information, without more, cannot make out a
violation of the mail and wire fraud statutes Sanchez v. Triple-S, 492 F.3d l, ll (lst
Cir. 2007)....We nevertheless observed that “[i]t would be a truly revolutionary change to
make a criminal out of every salesman (assuming the use of the mails or telephone) who
did not take the initiative to reveal negative information about the product and who--a
jury might find-secretly harbored in his heart the hope that the buyer would never ask.”
- 660.

United States v. Weimert, 819 F.3d 351 (7th Cir. 2016):

“In commercial negotiations it is not unusual for parties to conceal from others their true
goals values priorities or reserve prices in a proposed transaction When we look
closely at the evidence, the only ways in which Weimert misled anyone concerned such
negotiating positions He led the successful buyer to believe the seller wanted him to
have a piece of the deal. He led the seller to believe the buyer insisted he had a piece of
the deal. All the actual terms of the deal, however, were fully disclosed and subject to
negotiation There is no evidence that Weimert misled anyone about any material facts
or about promises of future actions.” - 354.

“The mail and wire fraud statutes do not cover all behavior which strays from the
ideal.” - 357. “[Wle know of no other caseiJn which a coi_rrt has foi_lnd that deceptive

statements about negotiating positions amounted to a scheme to defraud under the
mail or wire fraud statutes.” - 358.

United States v. Takhalov, 827 F.3d 1307 (llth Cir. 2016):

The Second Circuit has interpreted the wire-fraud statute in precisely this way. Their
cases have "drawn a fine line between schemes that do no more than cause their victims
to enter into transactions that they would otherwise avoid -- which do not violate the
mail or wire fraud Statutes _ and schemes that depend for their completion on a
misrepresentation of an essential element of the bargain _ which do violate the mail and
wire fraud statutes." United States v. Shellef 507 F.3d 82, 108 (2d Cir. 2007). see also
United States v. Starr, 816 F.2d 94, 98 (2d Cir. 1987) ("Misrepresentations amounting
only to a deceit are insufficient to maintain a mail or wire fraud prosecution Instead, the
deceit must be coupled with a contemplated harm to the victim [that] affect[s] the very
nature of the bargain itself. Such harm is apparent where there exists a discrepancy
between benefits reasonably anticipated because of the misleading representations and

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the actual benefits which the defendant delivered, or intended to deliver.") (internal
quotation marks omitted); United States v. Regent O_)j‘ice Supply Co., 421 F.2d 1174,
1182 (2d Cir. 1970) ("[Wle conclude that the defendants intended to deceive their
c_ustomers but they did not intend to defraud them, l_)ecau_se the fal_§itv of their

representations Was not shown to be capable of affecting the customer's
understanding of the bargain nor of influencing his assessment of the value of tl£

bargain to him, and thus no iniurv was shown to flow froLthe deception."). - 1314.
United States v. Binday, 804 F.3d 558 (2d Cir. 2015):
“_I_t_i_s not sufficient, however, to show merely that the victim would not have entered

into a discretiona§y economic transaction but for the defendant’s
misrepresentations The “right to control one’s assets” does not render every transaction

induced by deceit actionable under the mail and wire fraud statutes Thus, we have
repeatedly rejected application of the mail and wire fraud statutes where the purported
victim received the full economic benefit of its bargain.” - 570.

Sekhar v. United States, 133 S.Ct. 270 (2013):

“Obtaining property requires . . . the acquisition of property” - *4-5.

Skilling v. United States, 561 U.S. 358 (2010):

“the victim’s loss of money or property suppl[ying] the defendant’s gain,” - 400.

“ambiguity concerning the ambit of criminal statutes should be resolved in favor of
lenity.” - 410.

Signiticantly, all of these cases were decided long after the alleged conduct in this case,
from October 1998 to December 2000, and even after Mr. Carpenter’s second trial in 2008, and
his Second New Trial Order of September 2011. Respectiiilly, the First Circuit used the wrong
standard for Brady, the wrong standard for Giglz'o, and certainly the wrong standard for Napue
and did not analyze any other witnesses’ testimony other than Levine’s. Based on this simple
fact alone, this Court should grant Mr. Carpenter’s motion to vacate his conviction and dismiss

his indictment

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CONCLUSION
Mr. Carpenter respectfully renews his various motions to vacate his conviction and
dismiss his Indictment due to the multiple serious violations of his constitutional rights by the
government over this 14 year period. Mr. Carpenter can find no case in the First Circuit or
elsewhere that matches the number or the magnitude of the constitutional violations that
occurred in his case to deprive him of Due Process, Fundamental Fairness, or the Fair Trial that
the Constitution guarantees to everyone. Because Mr. Carpenter has already served his sentence,

the only remedy left in the interests of justice is to vacate his conviction and dismiss his

Indictment.

ORAL ARGUMENT RE UESTED
Mr. Carpenter respectfully requests oral argument on this Motion at the Court’s earliest
convenience, as a favorable decision here will clear up a significant portion of the Court’s
Docket pertaining to Mr. Carpenter. Upon notice from the Court, Mr. Carpenter Will retain

counsel to argue the case in front of this Court.

Respectfully Submitted,

/s/ Daniel E. CBenter
Daniel E. Carpenter

Petitioner, pro-se
18 Pond Side Lane
West Simsbury, CT 06092

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EXHIBIT
ONE

IANTOSCA V. MERRILL LAWSUIT

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COMMONWEALTH OF MASSACHUSETTS
BUSINESS LITIGATION SESSION

 

 

 

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JosEPH LANToscA,‘Indi\/iduauy and as rais;ee )
of the Paxon Heights, Apartments Realty 'l`rust and )
rem Realry frost BELRD)GE coRPoRATION, )
GArL A. CAHALY, _JEFFREY M. JoHNsT.oN, ) .. 4 _ j
BELLEMORE AssoclATEs, LLC, and , ) 03 " 0 7 7 5 59
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co.MPLArNT AND JURY DEMAND
rAnT_l_E.§

l. Joseph Iantosca is a natural person and a resident of the ~Commonwealth . of`

Massachusetts. Mr; Iantosca brings this action individually and as trustee of` plaintiffs Faxon
Heights Apartments Realty Trust and Fern Realty Trust;

2. Belridge Corporation is a Massachusetts Corp_oration with a principal place of business' m
Weymouth, Massachusetts. Mr. Iantosca is the President and sole sha;i.reholder_ of Belrid_ge.

3. Gail.A. 'Cahaly is an individual residing in Westwood, Ma`ssail‘.husetts.

l
4. forney M. fonnscon is an individual residm in Baston] Massachusetts.
qeg;tc};j,q gopmarou t_`_a ms mqr_itx_qnaj maqu m goatou Naaat;tcpnaetta'

§
l
!
4. Jeffrey M. Johnst_on is an individual residing in Boston, Ma`sisachusetts.
' §
5. Bellemo`re Associates, LLC is a_ limited liability companyi organized under the laws of
New Ham`pshire.
6. Massacl_i`usetts Lumber Company, l'.nc. is a Massach`usetts §e'orporation with its principal

place of business in Ca`rn'bridge, Massachusetts..

 

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7. Merrill Lynch Pierce Fenner & -Sniitti, Ine. (“Merrll Lynch”) is a Delaware corporation
with a usual place of business at 125 High Street in Boston Massachusetts.

_FM
8. By letter dated January 16, 2008, the plaintiffs presented Merrill Lynch with a written
demand for relief in accordance with.,Massachusetts- General Laws Chapter 93A, § 9 (3).
9. Merrill Lynch did not respond with a reasonable offer within 30 days
lO. Merrill Lynch opened ;and operated brokerage accounts for Benistar~Property»Exchange
Trust.Company, Inc.
l.l. As its name suggests Benistar Property Exchange Trus`t Company, lnc. held money in
trust for its clients Specifically, Benistar Property' Exchange Trust -Company, Inc. had Escrow
Agreements with its 'clients, including plaintiffs tuider which it agreed to hold its clients funds in
escrow.
1.2. Gerald Levine, one of the Merrill Lynch brokers who opened and managed the accounts
for Benistar Property Exchange Trust Company, lnc. was informed by the Pre_sident of Benistar
and by an attorney for one of Benistar’s clients that the funds in Benistar’s accounts at Men~ill
Lynch belonged to Benistar’s clients and were escrow funds that had to be returned oirdem'and
to B'enistar’s clients
13. The Merrill Lynch brokers who opened and managed the accounts for Benistar Rroperty
Ex-change Trust Company, lInc. were informed `in writing that the funds in Benistar’s accounts at
Merrill Lynch belonged to Benistar's clients and were escrow funds that had to be returned on
demand to Benistars'clients.
14. 'Ihe documents provided to Merrill Lynch included the Escrow Ag_reement used by

Benistar to establish its contractual and fiduciary dutieswith its clients

 

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15. The documents provided to Merrill Lynch included the 'E?xchange Agreement that
described in detail 'Benistar’s contractual and fiduciary duties as an intermediary in accordance
_with ‘S_ection 1031 of the Intemal _Revenue Code.

`16. As described in the Escrow and EXchange documents that were provided to Merrill
Lynch, and as described to Gerald Levine in the conversations he had with Benistar’s president
and the attorney for one of Benistar’s clients,. Benistar served as an intermediary for Section
1031 transactions

17. Section 1031 of the hitemal,Revenue Code entitles taxpayers to defer capital\_gains taxes
.on the appreciation of commercial real estate by using.the proceeds of aysale ofsuch real estate to
purchase like-kind property.

18. The documents provided to Merrill Lynch explained that Benistar Property Exchange
Trus_t_ Company held in escrow for its clients the proceeds of real estate sales made by its clients
and thatBem'star agreed to hold these funds in escrow pending its clients' need for those funds to
acquire replacement property.

l9. Despite their knowledge that"the money in the Benistar accounts belonged to -Benistar‘s
clients and waste be held in escrow, the Merrill Lynch brokers approved the Benistai‘ accounts
for highly speculative option trading

20. Benistar lost millions through the option trading and, despite demands by plaintiffs failed
to return approximately ,$8.'7 million to plaintiffs

21. In 2001, plaintiffs sued Benistar and served a- third party subpoena on Merrill Lynch
seeking all documents relating to the Benistaraccounts.

22. Merrill Lynch did not produce the Benistar Escrow and Exchange Agreements or the

correspondence between its broker and the attorney for one of'Benistar’~s clients

 

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23. 'Later in Z`OOI., Men'ill Lynch was added as a party in this Massachusetts litigation and
plaintiffs served discovery requests on Merrill Lynch seeking all information and all documents
_'relating to the Benistar accounts

24. l Merrill Lynch did not produce the Benistar Escrow and Exchange Agreem‘ents or the
correspondence between its broker and the attorney for one of Benistar’s client.s, nor did it
identify these documents and communications

25. Merrill Lynch lied about its involvement with the Benistar accounts and 'destroyed,
concealed and/or failed `to produce the documents evidencing its participation With Benistar -in
the misuse of Benistar’s clients’ funds.

26. Pla'intiffs discovered the documents evidencing Merrill Lynch’s participation with
Benistar in the misuse of~its vclients’ funds after Merrill Lynch’s brokers testified under oath that
they had no knowledge that the Benistar accounts contained other people’»s money.

27. Despite the testimony by Merrill Lynch’s brokers denying their knowledge of and
participation with Benistar in the misuse~of'Benistar’s clients’ funds, ajury found Merrill Lynch
liable for colluding with Benistar and found that Merrill had violated New York and Connecticut
consumer protection statutes l

28'. A judgment entered on that verdict prior to the award of damages based on Merrill
Lynch’s violation of the New‘ Y.ork and Connecticut consumer protection statutes The present
judgment has a 'val_ue- of more than $26,000,0'00.

29. Merrill '£.ynch has persisted in'its denial o_f liability despite the discovery by plaintiffs of
the documents that .Men'ill Lynch destroyed, concealed and/or failed to produce and despite its

own.knowledge that the testimony provided at trial by its brokers was perjurious

 

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30,. Merrill has pursued litigation in an attempt to harass plaintiffs, to impose financial costs
and emotional distress on the plaintiffs and to extort plaintiffs to settle for less then they are
~ owcd..

3.1. As a result of the unfair and deceptive conduct described above, plaintiffs have suffered
damages in the form of the attorneys’ fees, the loss of use of money, tax liabilities, accountants’
fees and emotional distress-

32. Mem`ll’s' Lynch’s Board of Director’s has adopted Merrill Lynch’s Code of Elhics for
Financial Projéssz'onals and which states: “All financial professionals must . . .[e]ngage~in and
promote honest and ethical conduct ., .. . [and] act in good faith, resp_onsibly, with due care,
competence, prudence and diligence, without misrepresenting material facts or allowing one’s
independent judgment or decisions to be subordinated.”

COUNT I - UNFAIR AND DECEPTIVE~ACTS PROH|I§ITED BY G.L. c. 93A

33. letiffs restate the allegations set forth in paragraphs 1~32 above and incorporate them
by reference as though fully set forth herein.\ '
34. Merrill Lynch has willfully and knowingly engaged _in unfair and deceptive conduct in
violation of G.L. c. 93A. v 2
35. Pla.intiffs have been injured by Merrill Lynch’s willful and knowing engaged in unfair
'and deceptive conduct in violation of G.L. c. 93A.

3.6. Plaintiffs are entitled .to compensatory ldamages, punitive damages and attorneys fees
based on Merrill Lynch’s willful and knowing unfair and deceptive conduct

COUNT II - FRAUD

37. Plaintiti`s restate the allegationsset forth in paragraphs .1-36 above and incorporate them

by reference as though fully set forth herein.

 

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3~8. Men'ill Lynch’s willfully and knowingly engaging in unfair and deceptive conduct
constitutes fraud.

; 39. Plaintiffs have been injured by Merrill Lynch’s fraudulent conduct.
40.. Plaintiffs are entitled to recover from Merrill Lynch the damages caused by Merrill
Lynch’s fraudulent conduct

CCUNT III` ~ M'ALICIOUS DEFENSE

 

41. Plaintiffs restate the allegations set forth 'in paragraphs 1-40 above and incorporate them
by reference as though fully.set forth herein
42a In.support of Merrill Lynch’s defense to plaintiffs’ claims based on its collusion with
Benistar in the improper use of'plaintif`fs’ escrow funds, Merrill Lynch created false material
evidence and gave false»testimony advancing such evidence,
4`3. Pl`aintifl"s have`been injured by Merrill Lynch’s malicious defense.
44. Pla`intiffs are entitled to recover from Merrill Lynch the damages caused by Merrill
Lynch’s malicious defense,

`WH]E`.R.EFORE, plaintiEs demand judgment against Merrill ’Lynch in an amount
sufficient to compensate them for the injuries caused by Merrill Lynch, for punitive damages in
the amount of three times the amount.of the judgment on all claims arising out of the same and

underlying transactions or occurrences, for costs and attorneys fees, and for all other relief the

court may deem appropriate

PLAINTIFFS DEMAND A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.

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J'OSEPH IAl\lTOSCA,,;ndiVidually and as .'1` `rustee
of the Faxon Heights. Apartments Realty Trust and
Fern Reaity Tru$t, BELRIDGE CORPORA-'I»'ION,
GAIL A. CAHALY, JEFFRE'Y.M. JOI'H\lSTON,
BELLEMORE ASSOCIATES, LLC, and
MASSACHUSETTS LUMBER COMPANY, INC.

By their att meys,

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EXHIBIT
TWO

JUDGE ROACH 2016 OPINION

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COMMONWEALTH OF MASSACHUSETTS
SUFFOLK, SS. SUPERIOR COURT

coNso , nger AcrloN
Nos. 1_0116-BLS2~01-299-BL32;
01-0330.3 sz; 0 ssi-BLsz; 01-3433-

BLSZ; 01-4305-BLS2; 01-00075 (Nort`olk
County)

GAIL A. CAHALY, et al.,
v.
BEN`ISTAR PROPERTY EXCHANGE TRUST
COMPANY, INC.,` et al.

MEMORANDUM OF FINDINGS AND RULlNGS f
ON SANCTIONS REMAND . `
These consolidated actions represent litigation which is now a decade and one-half old.
Most recently, I held an evidentiary hearing on remand o_f the issue of sanctions against
the law firm of Bingham McCutchen LLP (Bingham),_for a decision made by Bingham partner
John R. Snyder (Snyder) in 2002, to withhold from production in discovery in the underlying
litigation a group of documents on the basis of the work product doctrine, A retired justice of
this court, Stephen E. Neel, had previously held an eight-day evidentiary hearing on the same
sanctions question back in 2010. Judge Neel issued a detailed memorandum of Findings and
Rulings dated January 11, 2011 (the First Sanctions Decision).
Plaintiffs appealed the First Sanctions Decision, and in June, 2014, the Appeals Court
vacated that portion of Judge Neel’s final judgment which had entered judgment for Bingham on
plaintiffs’ motion for sanctions. The Appeals Court held Bingham “lacked an adequate basis,
under the guise of the work product doctrine, for its decisions to withhold information that

Merrill employees had viewed certain Benistar Web pages describing its business as an
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* 'LM$¢. m ' '
u`.`x%'?'e . nga '1‘ ;:;: n ¢_u;sz°;'- °~se .- £`..K:\:’kF §§ .;l-e.=v -. - » ' .. .
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intermediary for third-party funds and then to present a defense claiming that no Merrill
employee had viewed the very same Web pages.” MMMM§M
company, Inc., 85 Mass. App. cr. 418, 419 (2014).‘ The Appeals court further ruled that
certain issues remained requiring resolution by a fact finder, and remanded the matter to this
session for further proceedings consistent with its opinion L, at 428-429.

For all of the reasons discussed in this Memorandum, l find and rule that Snyder’s
conduct is not sanctionable Were it sanctionable, I find the only actual loss Plaintiffs could
have sustained as a proximate result of Snyder’s conduct is the amount of interim
uncompensated attorneys’ fees accrued, which Plaintiffs themselves estimate to be
$750,000.

LEGAL STANDARD AND SCOPE OF REVIEW

The Appeals Court decision identified “two important qualifications to the work product
doctrine that bear directly on the facts of this case and were absent from [Judge Neel’s] analysis”
-- the concept of a party’s substantial need for the material sought in discovery; and the

distinction between fact and opinion work product for purposes of protection from disclosure

 

1 The sanctions decision by the Appeals Court was the latest in a long series of reported and
unreported decisions in these matters which form the foundation on which l write. Then Superior Court Judge
Botsford presided over the first trial between the primary parties (B ingham was not an intervenor at that time) in

.2002, and issued a memorandum of decision on the post»trial motion of defendant Mem'll Lynch forjudgment
notwithstanding the verdict, in February, 2003. 2003 Mass. Super. LEXIS 143 (Februaly 25, 2003). Judge
Botsford later granted the plaintiffs anew trial based on newly~discovered evidence unrelated to Bingham and the
documents at issue in these sanctions proceedings 85 Mass. App. Ct. at 420 n. 6. That decision was affirmed by
both the Appeals Court, 68 Mass. App. CL 668, 673-676 (2007)(describing the import of the “Paley" and
“Patterson” evidence sources and potential), and the Supreme J udicial Court Cghaly v. Benistar Prgpegy Exch.
Trust Qo., 451 Mass. 343 (2008). Neel, J. (ret.) presided over the re-trial in 2009, which also resulted in ajury
verdict for plaintiffs. ln addition to the First Sanctions Decision referenced throughout the present Memorandum,
Judge Neel issued a memorandum and order forjudgment on plaintiffs’ claims for punitive and consequential
damages, following abench trial on those issues. 2011 Mass. Supcr. LEXIS 8 (January 11, 201 1). Finally. a
diii`crentjudge ofthe Superior Court heard a separate action entitled Cahal . B ton Pro e Exe n e T st
CompagL et al., Suffo|l< St_rperio[ Cogg, Civil Action No. 2014-00530-D, brought to reach and apply settlement
ninds. Memorandum ot'Decision and Order of February 24, 2015 (Looke, J.). That action has recently been
resolved. Civil Action No. 2014-00530-D Dccket, at Papers 82-84.

2

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85 Mass. App. _Ct. at 425, citing _an_nn_i§§i<mer ofjlev.`v. Comast Corp., 453 Mass. 293, 314
(2009). The court concluded that based on these two qualifications Snyder lacked a'n adequate
basis in law to support his decision to withhold certain facts reflected within the so-called Malia
tile,' namely that Malia visited the section 1031 pages on the Benistar Web site on September 20,
2000, and then sent those pages by fax to Rasmussen, l_cL, at 426. lt went on to state:

“We are also of the View that Snyder’s persistence in pursuing a defense that included

Merrill’s lack of knowledge of the nature of Benistar’s business and the section 1031

Web site pages calls into question his good faith Accordingly the judge’s ultimate

finding that Snyder acted reasonably and in good faith in withholding critical documents

as work product must be reassessed in light of the legal principles we have set out here.

Nevertheless, reasonableness and good faith are determinations we leave to the fact

` finder, who is in a better position to assess the credibility of witnesses and to weigh the
evidence, in the context of the applicable law.”
E._, at 428. The Appeals Court decision then briefly addressed potential authority for imposition
ofthe sanctions the plaintiffs seek § the inherent power of the trial court; Mass. R. Civ.P. 1 1; and
Mass.R.Civ.P. 37 - but again deferred to the proceedings on remand to determine whether
sanctions are warranted on any such grounds. ida at 428-29.

The Appeals Court decision relied primarily on Comc_ast_, decided in March, 2009, and
McCarthy v. Slade Assocs., 463 Mass. 181 (2012), decided August, 2012, as the clearest and
most recent articulations of Massachusetts work product doctrine. The parties do not now
attempt to dispute that substantial need, and the distinction between fact and opinion work
product,2 should explicitly factor into a oourt’s decision about Snyder’s actions and state of

mind. Rather, they each cite various authorities which they believe shed light on the components

Snyder should have been considering in 2002 when he assessed the Malia lile, and the Merrill

 

2 The burden is on the withholding party to demonstrate the type of work product involved, and
ordinary or fact work product receives “Ear less protection” than opinion work product Fact work product may be
ordered upon a showing that the party seeking discovery has substantial need ofthe material and that it is unable
without undue hardship to obtain the substantial equivalent ofthe material by other means. That showing becomes
the burden ofthe requesting party, that is, the burden shitis. Comgas_t, 453 Mass. at 314¢315.

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Exercising the discretion accorded the trial court by the Appeals Court decision, 85 Mass.
App. Ct. at 430, n. 16, I determined to consider certain identified factual findings made by Judge
Neel which I believe went to Snyder’s state of mind during the relevant timeh~ames, but not
others which I believe did not dc so. l also agreed to hear additional testimony on the “two
important qualiicatlons to the work product doctrine” identified by the Appeals Court, i_cL, and
declined to hear evidence on matters listed in Judge Neel’s opinion as “Rulings of Law.” Rather,
_ l ordered that any issues of law which the parties wished me to consider were to be included in l
their Joint PreTrial Memorandum. Docket at Paper 628, endorsement of 4/15/2015.

Other Evidenna_ry Ruliggs

Second, Bingham filed an Omnibus Motion in Limine seeking exclusion from the hearing
of four categories of material. Docket, Paper 629. Pursuant to the Omnibus Motion, the
testimony of one non-party witness proffered with respect to the eE`ect of Bingham's actions on
settlement was excluded; the testimony of a party witness on a similar topic was admitted That
portion of the motion which sought to exclude more generally evidence of damages allegedly
caused to the plaintiffs by Snyder’s actions was denied; and the portion of the Motion seeking to
exclude two letters between NASD and Merrill Lynch was taken _d§ _b_en§. L, at endorsement of
4/23/2015. Following hearing the two letters were admitted for whatever probative value they
may hold as to Snyder’s state of mind during the period 2002-2003. Ld._, at endorsement of
5/6/2015. d

Scope of this Record

Third, given the discretion articulated by the Appeals Court decision, it was of some
concern to this court that the parties acknowledge the record (beyond our in-court evidentiary

hearing proceedings) on which this decision on remand was to be based. Unfortunately the

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that were. I have considered Bingham’s objections to these exhibits6 and find them
unpersuasive The additional exhibits proffered by plaintiffs are admitted
PRELIMINARY FINDINGS OF MATERIAL FACT

All of the below-enumerated Findings of Fact represent findings by the court, including '
but not limited to determinations of the credibility, weight, and probative value of the evidence
adduced at hearing before me May 4-7, 2015, and reasonable inferences drawn from that
evidence, as well as stipulations by the parties, and the prior record and judicial opinions
identified The Preliminary Findings focus on each _set of decisions made by Snyder (and

identified by the Appeals Court) which plaintiffs argue are sanctionable

Merrill Ly_i!ch Retains Bingham in Connection with Benistar Litigation (June 20011

For purposes of these preliminary historical facts I concur with Judge Neel' s findings
contained at pages 3~4 of the First Sanctions Decision, including his findings that Stern, Levine,
Rasmussen and Tabbah “each told Snyder that he did not know that the money in Benistar’s
accounts belonged to third parties; that on September 20, 2000, trading in the account was
restricted to closing positions oniy, because of Benistar’s trading strategy and losses rather than
any concern about the presence of third-party money in the accounts; and that he had not visited
the section 1031 pages of the Benistar website.” More specifically, l find as follows based on
the hearing before me:

Snydcr’s Interviews of Merrill Employees §July 2001-Februag 2002)
l . Between July 13, 2001 and February 4, 2002, Snyder interviewed key employees

at Merrill’s Fifth Avenue branch in New York which handled the Benistar accounts: Gary Stem

 

° Contained in Bingham McCutchen’s Statement Regarding the Scope of the Record, filed July l$,
2015.

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and Gerald Levine, who were brokers and Daniel Carpenter’s primary contacts; Thomas ‘
Rasmussen, the administrative manager; and Hassan Tabbah, the branch manager. Snyder also
spoke with Jennifer Waddington, a member of the surveillance group within the compliance
department Sanctions Hr’g Tr. vol. 1, 19:13~20:3, 2224-23:6, 54:4-15; Ex. RLlOOS at
Bingham/FH 00059-62 (Iuly 13, 2001 conversation with Stem), 00045-46 (August 9, 2001
conversation with Levine), 00063-64 (October 16, 2001 conversation With Stern), 00093-94'
(November l, 2001 conversation with Tabbah), 00101-102 (chember 8, 2001 conversation
with Waddington), 00095»96 (February 4, 2002 conversation with Tabbah), 00047-53 (February
4, 2002 conversation with Levine); Ex. R-1006 at Bingham/FH 00959 (November 5, 2001
conversation with Rasmussen).

2. Merrill ’s in-house legal department as led by Pash on the Benistar matter played a
more active role than that of many clients Snyder had worked with. Sanctions Hr’g Tr. vol. l,
87:5-88:17. Snyder’s interviews of Merrill employees were arranged by Pash. Snyder would not
call an employee himself unless Pash had previously alerted the employee, and identified who
Snyder was and what his purpose would be. Pash also personally participated in many ofthe l
interviews. I_d., Hr’g Tr. vol.- l, 88:4-17.

3. Before January 2002, when the first group of plaintiffs was permitted to bring .
damages claims against Merrill, Snyder interviewed Stern, Levine, Rasmussen, and Waddington.
l Ex. R-A; RSF 11 16. All consistently gave the same explanation for why Merrill had restricted
Benistar’s trading, that is, that Benistar had suffered losses due to its unsuccessiiil trading
strategy and Carpenter refused to change his strategy_. Sanctions Hr’g Tr. vol. 1, 23219-22,
24:11-25:15. Stern was deposed in October and November 2001, and gave the same explanation-

under oath. ld._, at 25:17-24; Ex. R-A. Snyder spoke with Tabbah in Februar'y 2002, when there

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were damages claims pending against Merrill. Tabba.h told Snyder that the account was
restricted because of Benistar’s losses and Carpenter’s refusal to change his strategy, and when
Tabbah and Levine were deposed later in Pebruary each gave this same explanation for
restricting Benistar’s h'ading. Sanctions Hr’ g Tr. vol. l, 23:19-22, 24:11~25:24.

4. Stem, Levine, Tabbab, Rasmussen, and Waddington all told Snyder that they
understood in 2000 that the money in Benistar’s account belonged to Carpenter or one of
Carpenter’s companies, and were not aware that the account contained third-party money. L, at
26:8-27:1; Ex. R-1005 at Bingham/FH 00059 (Stern believed money in Benistar account
belonged to Benistar), 00045~46 (Levine believed the funds to be “strictly corporate money”),
00049 (Levine believed funds to belong to Carpenter), 00102 (Waddington saw no indication of
third-party money).

Responses to Written Discoveg §June 20021

For purposes of these foundational facts surrounding Snyder’s role in Merrill’s responses
to discovery, l concur with Judge Neel’s findings contained at page 6 of the First Sanctions
Decision, including the foundational finding that Snyder’s “investigation lead him to believe”
“that Moya’s involvement was after the fact and not sufficiently informed to constitute either a
statement of, or the fact of, the requisite ‘knowledge’ on Merrill’ s behalf.” I_reserve the question
of good faith for discussion below. More specifically, I find as follows based on the hearing
before met

‘ 5. The Iantosca plaintiffs had moved to amend their complaint and add damages
claims against Merrill in August 2001. Sanctions Hr’g Tr._ yol, .l, 118:20_-1 19:1. . At that point,
the deadline for discovery was already set for November 30, 2001. lpg at 119:2-13. While their

motion to amend was pending, the Iantosca plaintiffs served interrogatories and document

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in order to avoid waiving the privilege or work product protection, should those materials prove
to have refreshed the witness’s recollection Sanctions Hr’g Tr. vol. 2, 31 :14-34:15.

55. Snyder did show each of Stem, Levine, Tabbah, and Rasmussen a copy of the
section 1031 page of the Benistar website, because plaintiffs had disclosed it as a trial exhibit, so
Snyder expected plaintiffs’ trial cotmsel to examine them about it. Sanctions Hr’g Tr. vol. 2,
34:16-35:9. Each witness again told Snyder he had never seen the page. Ld,, vol. 2, 35 :10-19.

56. In preparing Rasmussen, Snyder asked Rasmussen whether he had ever received a
copy ofthe 1031 page from anyone, and in particular whether he recalled receiving a fax from
Malia concerning the website. Rasmussen told Snyder that he had no recollection of that. l¢,
vol. 2, 35:20~36:6. l

57. At the 2002 trial, Tabbah testified he did not know the money in the account
belonged to third parties. He also testified that the trading in the account was restricted to
closing positions only because of Benistar’s trading strategy and losses, not because of any
concern about the presence of third-party money in the account RSF ‘[f 157; Ex. R-l 158.05 at
179:18-22.

58. Levine likewise testified he did not know the money in the account belonged to
third parties, and did not learn that Benistar acted as an intermediary or escrow agent until
January 2001, after the accounts had left Merrill. Levine testified Carpenter told him that the
account contained corporate money and Carpenter’s own assets. Levine further testified he had
not visited the § 1031 page of the Benistar website during the time the Benistar accounts were at
Merrill. Levine also testified to concern with Carpenter’s risky trading strategy and his.efforts.to
get Carpenter to change his strategy. RSF 11 172; Ex. R-1158.07 at 114:21-115:6;132:13-

1'33:3;138:8-139:17.
26

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59. Stern testified at trial he did not know the money in the account belonged to third
parties, and did not learn that Benistar acted as an intermediary cr escrow agent until he had a
conversation with Mitchell Rock at PaineWebber in Ianuary 2001, after the accounts had left
Merrill. Ex. R-1158.08 at 168:23-169:3, 172:9-21. Stem did not know what an intermediary
account was, or what a 1031 exchange was, until 2001. Ex. R-1158.08 a_t 171 :16-18, 176:6-13.
Stem testified to his own concern with Carpenter’s risky trading'strategy and his efforts to get
Carpenter to change his strategy, Ex. R-1158.08 at 188:14-191:17.

60. Snyder asked Rasmussen at the 2002 trial whether he knew in 2000 that Benistar
acted as third-party intermediary or escrow agent holding other people’s money, and Rasmussen
testified that he did not. Rasmussen also testified at trial that he .had never visited the Benistar
website before the accounts were transferred, and never thought to do so. Rasmussen further
testified the account was restricted to closing transactions because Carpenter’s aggressive trading
strategy was generating too many losses. 85 Mass. App. Ct. at 423; Ex. R-1158.11 at 24:7-

25:1 1; 41 :9-13; Ex. R-1158.11; Sanctions Hr’g vol. 2, 39:1-8.

61 . Snyder has since testified he lacked any knowledge that Rasmussen’s testimony
on this point was false. To the contrary, Snyder believed this testimony was true, and therefore
did not think he had any obligation to correct it. Sanctions Hr‘ g vol'. 2, 39:22-40:1, 40:5-6.

62. In his closing argument at trial, Snyder stated: “The Merrill Lynch people did not
know that they were knowingly assisting and did not know that the funds belonged to third .
parties, and they did not knowingly assist Carpenter in wrongdoing” 85 Mass, App. Ct. at 423;
Ex. R-1158.12 at 112:21-24.

63. Snyder has since testified that, by the “[t]he Merrill Lynch people,” he was

referring to the trial witnesses named in the preceding sentence of his closing:

27 .

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Rather, as the Court will soon instruct you, the standard by which the actions of

Mr. Levine, Mr. Rasmussen, Mr. Stem must be judged and the determination you

must make with respect to the claims against Merrill Lynch is whether they

actually knew the money in the BENISTAR accounts belonged to persons other

than BENISTAR or Carpenter, whether they actually knew the actions Carpenter

took with respect to those funds that were wrongful, and whether they knowingly

assisted Carpenter in taking those wrongful actions.

Ex. R-1158.12 at 112:10~20; Sanctions Hr’g, vol. 2, 42:10-43:4.

64. Snyder further stated, in closing, “AIl these witnesses have said they did not know

what a 1031 exchange was at the time. There was no reason for them to say, oh, there’s what
- we want, a 1031 exchange and to go to that button, or to think even, that 1031 exchange was
some sort of an indication that something was amiss."` 85 Mass. App. Ct. at 423; Ex. R-1158.12
at 124:18-23.

65. Snyder later stated in a brief, and testified, that his reference to “[a]ll these
witnesses” referred to Men'ill’s employee witnesses at the trial: Stem, Levine, Rasmussen,
Ta_bbah, and Duffy. Sanctions Hr’g, vol. 2, 44:8-13; Ex. R-1115 at 9.

Post-Trial Pleadings`f_])_ecember 2002-2008}9

66. Plaintiffs won ajury verdict for $8.6 million in the 2002 Trial. Sanctions Hr’g,
vol. 2, 44:14-20. Merrill filed a motion for judgment notwithstanding the verdict The motion
was restricted to the evidence at trial and the law, as Snyder understood it must be. I_d_., vol. 2,
48'.20~49:5.

67. The primary argument in Merrill’s brief was that Plaintiffs had not presented
sufficient evidence of Merrill’s actual knowledge of Benistar’s wrongdoing, nor of Merrill’s
substantial assistance in that wrongdoing Sanctions Hr’g vol. 2, 44:21-45:8, 4_6:1_ 1141:17. _F_ir_st,

Merrill stated: “Plaintift`s, however did not present even a scintilla of evidence that Merrill

 

l 9 Judge Neel did not address these post-trial pleadings in the First Sanctions Decision.

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'Lynch, even if it knew that Daniel Carpenter was trading with third party funds, knew that such
trading constituted conversion or breach of duty. ln fact it is undisputed that Merrill Lynch
never had any knowledge of the agreements between the Plaintiffs and Benistar.” Merrill’s brief
went on to state that, on the subject of knowledgc, “Pla.intiffs have failed even to present
sufficient evidence to support a reasonable inference that Merrill Lynch knew that the Benistar
accounts contained third party timds.”- 85 Mass. App. Ct. at 423; Ex. R-ll 15 at 7~8. ~

68. Snyder testified he believed this statement was true and reflected the state of
evidence at trial. Sanctions Hr’ g vol. 2, 47:21-48:7. Snyder testified that, even had the Malia
file been adrnitted, he believed the statement would still be true, because Malia had told .Snyde.r
that after viewing the website he did not know the Benistar accounts contained third-party funds.
ld_., vol. 2, 48:8-19. Judge Botsford granted the JNOV in February, 2003, ultimately resulting in
the 2009 trial.

69. As the case was appealed to the Appeals Court and then the Supreme Judicial
Court, Snyder continued to make arguments substantially identical to those made in the trial
court. Sanctions Hr’g vol. 2, 49:6-14. Snyder testified he made these arguments on appeal
because appellate argument was limited to_ the record, and the arguments were consistent with
the evidence in the record. Snyder further testified he believed these arguments were not

contradicted by any evidence, including the contents of the Malia tile. ida vol. 2, 49:15-23. '

Merrill’s Letters to NASD (§ebrua§\_r-March 2003)

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As discussed above, unlike Judge Neel, l admitted as evidence in the hearing before me l
two letters with which Snyder was involved on behalf of Merrill in 2003, for whatever additional
probative value they might shed on his state of mind in 2002-2003. With respect to these letters,

1 find as follows:

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70. Snyder assisted Merrill in responding to a request from the NASD for information
and documents concerning the Benistar accounts. Sanctions Hr’g vol. 2, 113:4-8, 113:16-114:5.
Although he remembers participating in the response, Snyder does not recall who wrote what
language in the letter Merrill sent to the NASD in February, 2003, prior to the court’s decision
on the JNOV. Ld., vol. 2., 119:6-19. Snyder reviewed at least one draft of the letter, but perhaps
not the final version. Ld., 19:21 -23.

71 . The letter stated that no Merrill employee had learned the funds in the accounts
- were being held by Benistar as a third-party intermediary or as escrowed funds, and that Merrill
had located no documentation indicating that anyone at Merrill knew so. Snyder testified this
continued to be his understanding as ofFebruary and March of 2003. I_d._, vol. 2, 123:3-9,
124;'13~125:1; san-1022 ar 5.‘°

72. In Snyder’s view, no Merrill employee had “learned” or “knew” that the Benistar
accounts contained third~party money, even if the Malia file contained some documents
indicating that Benistar acted as a third~party interrnediary. Merrill did not invoke the work
product doctrine in this lettcr, and the signatory of the letter was unaware of the Malia file. ld._,
vol. 2, i25¢4-1o.

Discoveg of Additional Branch File Documents §2009]"

73. On February 25, 2009, prior to the 2009 trial, Snyder learned that additional

documents had been discovered in the Merrill Lynch Fifch Avenue branch. Sanctions Hr’g Tr.

vol. 4, 73:15:19.

 

"'1° ’ The second letter is dated after th`e court's' Fe`br'uary'Z$, 2003 decision on'the'JNOV,"and sets forth
the basis for that decision in some detail. Ex. R~1023.

" Judge Neel found that Snyder acted in good faith in 2009 following discovery of the branch tile.
First Sanctions Decision at page 7. 1 reserve conclusions in this remand decision on Snyder’s state of mind for
discussion below.
30

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78, By March 3, 2009, Snyder had informed Dickstein Shapiro and Merrill’s in~house
lawyer that he had found the Malia tile and that it had been withheld in 2002 as work product
and privileged _Ig, vol. 4, 77:13»81:7. Snyder recalls speaking with Robert Higgins of
Dickstein Shapiro and John Bevilacqua, in-house counsel at Merrill, about the tile and associated
events. l$, vol. 4, 77:13-78:5. Snyder’s notes reflect a March 3, 2009 conversation with
Bevilacqua and Ralph Cursio, a more senior member of Merrill’s legal department, in which

. Snyder explained that no privilege logs had been created in 2002 to reflect documents withheld
from production. Sanctions Hr’g Tr. vol. 4, 79:20-80'.24; Ex. R-1006 at Bingham/FH 03353.

79. Snyder testified before me that, when he re-reviewed the September 20, 2000 tax
coversheet from Malia to Rasmussen Gncluding website pages) in 2009, he understood its
potential significance to the case.lz Nonetheless, Snyder’s memory remained that Rasmussen
consistently told Snyder he did not remember receiving those materialsl Sanctions Hr’g, vol. 3 at
42:18~43:18.

Plaintifi`s’ Alleged Losses and Recoveries to Date

80. Plaintiffs originally alleged they lost $8.6 million in investments held by Benistar.
They received $12,487 million in settlement with Paine Webber in mid-2008, an amount which
equaled their original loss plus interest Sanctions Hr’g, Tr. Vol. 4, 113:21-23~114:10; 124:15-
24. Plaintift`s have also received $113,543.76 from a Benistar bank account, and 3150,000 from
settlement with Martin Paiey. 2011 Mass. Super. LEXIS 3, at 47~48.

81. FoIlowing the 2009 jury 'tria.l, judgment entered in favor of Plaintiff"s and against
Merrill for compensatory and consequential damages _of approximately $9.7 milhon,_ pl_u__s __

statutory interest less the pro rata amount that each plaintiff had received from the Paine Webber

 

n Plaintiff's have their own interpretation of this significance (scc, c_.g=, Plaintiffs’ Proposed Findings
at para. 257), which Snyder does not necessarily share.
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100. Professor Moore also discussed, however, the underlying rationale for the
distinction between fact and opinion work prcduct. As testified by Professor Moore, the non-
opinion fact “hidden” in the Malia tile was that potentially one or more “l\/lerrill people” visited
the Benistar website, including the section 1031 pages, during the relevant time period of
September, 2000. 2010 Transcript, at 184: 5-19. This portion of her opinion is more compelling
and in keeping with my understanding of the state of Massachusetts law in 2002 when Snyder
was making his judgments

101. - Snyder acknowledged in the Sanctions Hearing before me that the fact that Malia
went to the website, and the fact that Malia may have had thoughts about Benistar’s business
while he was there, could be distinguishable Snyder admitted he did not analyze these two acts
(the visit and the thought process) differently at the time of his work product determination in
2002, because he believed Malia’s very act of going to the website itselfretlected a protected
thought process. Snyder also admits the visit to the website “could have had a bearing” on other
evidence that was admitted at trial. Sanctions Hearing Testimony.

Ultimate Finding§

102. I find Snyder reasonably behaved Rasmussen’s testimony was true, and that the
Malia tile, even though it contained a fax indicating that Malia sent Rasmussen a copy of the
1031 page on September 20, 2000, did not undermine the reasonableness of Snyder‘s belief.
Hr’g Tr. vol. 2, 37:18-38:24. The basis for Snyder’s belief was threefold. First, Rasmussen had
consistently told Snyder that he had no recollection of seeing the website page. Second, the file
maintained at the Fifth Avenue branch (where Rasmussen worked, and where Snyder expected
that faa would be if Rasmussen had received it) as reviewed by Snyder in 2002, did not contain a

“received" copy of Malia’ s fax. Third, in September 2000, when the fax was sent, Rasmussen

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was in the process of moving to a new position in New Jersey and was spending only part of his
time in the Fifth Avenue oftice. Hr’g Tr. vol. 2, 37218~38:24.

103. As discussed above, Iiind Snyder did not “hide” Malia as a player in the
sequence of events leading to restriction of the Benistar accounts To the contrary, Men'ill’s
2002 responses to interrogatories identified Malia as a person with knowledge ofthe reasons for
the restrictions

104. 1 iind Snyder made the statements in the pre-trial Memorandum in good faith,
~ based on his conversations with Merrill witnesses and their expected testimony, Hr’g Tr. vol. 2,
10:20»12:13. The Merrill witnesses Snyder expected he would call_Stern, Levine, Rasmussen,
' Tabba.h, and Duffy_consistently told Snyder they had not known, prior to the transfer of the
accounts, that the accounts held third-party money. In fact, they believed the money was
Benistar’s or Carpenter’s; and Snyder reasonably expected them to testify to that effect. Hr’ g Tr.
vol. 2, 11:19-12:13, 26:4-28:1 l, 29:2~24. Even if Merrill had called Malia, neither his testimony
during the relevant time period in 2002, nor the presence of Malia file itself would have
undermined Snyder’s belief. This is because at the time of the 2002 trial Malia did not possess,
and the Malia tile did not reflect, actual knowledge that the Benistar accounts held third-party
money, but at best only a suspicion that they might have done so. Hr’g Tr. vol. 2, l 1:19-12:13.

105 . I Hnd Snyder and Menill acted on a good faith basis in relying on the work
product doctrine to withhold the fact of Malia’s September 20, 2000 visit to the Benistar website
from Merrill’s answer to interrogatory no. 7. Hr’g Tr. vol. 2, 7:3-8:6. Snyder understood the
work product doctrine could protect both facts and opinions, and credibly behaved at the time

that the particular fact that Malia visited the Benistar website would tend to reveal Malia’s

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thoughts and mental impressions regarding his concern that Carpenter and Benistar could “come
back to bite" MerrilL Hr’g Tr. vol. 2, 7:19-8:6; Ex. R-1005 at Bingham/FH 000]1.

106. I disagree with Plaintiffs’ contention that there was “no evidence” that “Malia
subjectively believed that litigation was a real possibility and that the prospect of litigation was
the reason he created or obtained the documents.” Plaintiffs’ Proposed'Rulings of Law, at page
4. To the contrary, l credit Snyder’s testimony that Malia expressed these very sentiments to
Snyder in more than one of their interviews together.

107. Nor does the evidence before me support Plaintiffs’ proposition that: “lt is also
undisputed that Malia’s reaction to seeing the website was not to refer the matter to Merrill
Lynch’s litigation department, but rather to contact Rasmussen to instruct him to restrict the
account.” PlaintiH`s’ Proposed Rulings of Law at`page 5. Again, l credit Snyder’s testimony that
Malia’s interviews with Snyder (and the Malia tile) supported the reasonable belief that Malia
did not visit the website until after he instructed Rasmussen to restrict the account

108. In short, I find on the record before me that Bingham's characterization of the
facts is more accurate; Malia presented “competing narratives” about his thoughts and actions
during the relevant time period. I agree with Judge Neel’s findings in this regard, that is, “that
while Malia’s accounts of the sequence of events was not consistent in his conversations with
Snyder, he consistently stated to Snyder that his decision to restrict trading in Benistar’s account
was based on Benistar’s losses and trading strategy.” First Sanctions Decision at page 6. 15

109. l find Snyder took reasonable and good faith steps to arrive at his work product
judgments, as reflected in his testimony, his notes, and Renehan’s expert opinion. Hr’ g Tr. vol.

1, 29:1-76:18; Ex. R-2003 at 69:3-71:22. Once this die was cast, it was reasonable for Snyder to

 

15 lt is nonetheless undisputed Malia testified in 2009 that he restricted the account in part because of
a concern that Benistar was trading other people’s money, Bingham's Proposed Findings at para. 144.
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been useful in cross-examining the Merrill wimesses.”). That in turn would have (and did) lead
to the admissibility of the Benistar website pages which Malia viewed providing additional
circumstantial evidence at the 2009 retrial that was not available in the 2002 trial. However, l
cannot accept the multiple pages of speculation offered by plaintiffs regarding Malia’s (and
Rasmussen’s) “likely testimony if he testified in 2002.” Plaintiffs’ Proposed Findings of Fact, at
paras. 297-308.

At Plaintift`s’ Proposed Findings of Fact, para. 265, they state: “It is impossible to
reconstruct what would have happened_if Bingham had not acted without legal justification in
withholding critical evidence.” I agree with the first live words of this sentence, that is, it is
impossible to reconstruct Notwithstanding that impossibility, plaintiffs continually within that
same pleading make reconstructch pronouncements At their Proposed Findings of Fact, para.
37, plaintiffs state: “But for Bingham’s willful, knowing and unfair and deceptive conduct, this
court would not have granted Merrill Lynch’s motion for judgment notwithstanding the verdict
in 2003." Similarly, at Plaintiffs’ Proposed Findings of Fact, para.

287 it is stated: “Since the documents concealed by Bingham would have been produced
more than a year after Merrill Lynch was obligated to produce them, this Court would likely
have rejected Mcn'ill Lynch’s argument that it was too late for plaintiffs to seek additional
discovery based on Merrrill Lynch’s seriously delinquent production and the signiticance of the
documents produced.” Itind no evidence on this record to support either of these speculations

Perhaps the piece de resistance is this: “Because it is impossible to know whether
plaintiffs and Merrill Lynch would have reached a settlement agreement in 2002, Bing@’s
_____ i_ _tl_nls sam
Bingham certainly caused the expenditure of substantial resources of the parties and the

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Commonwealth which could have been far better spent." Plaintiffs’ Proposed Rulings of Law at
page 21 (ernphasis supplied). I daresay no seasoned trial or appellate judge who has touched this
case could agree that all of the now fifteen years of litigation is to be blamed solely on the
conduct of Bingham, and l respectfully decline to so find or rule.
Plaintiffs’ Losses

I am of course sympathetic to the notion that plaintiffs may have been subjected
unnecessarily to particular litigation risks as a result of Snyder’s decisions to withhold the Malia
- lile. Nonetheless, the difficulties with this argument are at least threefold. First, the record is
clear that none of the risks identified by the Plaintiffs in their sanctions pleadings actually came
to pass." Second, plaintiffs acknowledge, as they must, that “they did eventually recover sums
more substantial than Merrill Lynch would have oHered in 2002 even if the additional evidence
had been produced to plaintiffs at that time.” Plaintili`s’ Proposed Findings of Faet, at page 72,
note 16. And third, as described above, the argument persists in glossing over the multiple
inferences which would have been necessary for plaintiffs to arrive at proof of the “actual
lcnowledge” standard first articulated by Judge Botsford in her 2003 JNOV opinion, and affirmed

by our appellate courts.18

 

' '7 These alleged risks are referenced at various points throughout plaintiffs’ pleadings, but perhaps
most directly and succinctly at Proposed Finding ofFact para. 268 frisk of losing their claims on summary
judgment, risk of settling unfairly low prior to the 2002 trial; loss of`an “opportunity to settle for the fair value of

_ their claims in 2002”; the risk of a jury verdict for Merrill in 2002; the granting of the J'NOV in 2003; and the risks
associated with
the new trial process beginning in 2004.)

“’ ln their pre-hearing filings plaintiffs sketched out three theories ofloss. The first was that the
judgment.ente_red by Judge Neel ,in 2009 accounted for the $lZ.SM plaintiffs recovered in 2008 a_s_as_signees of
Benistar, whereas a hypothetical judgment entered in 2002 or 2003 would not have been so reduced A second,
related theory is that this “set oti” should have/could have been applied to a punitive damages award, rather than the
compensatory damages award. Plaintiffs also argued a court “would likely have awarded a very substantial punitive
damages aw " in 2002 had plaintiffs had access to additional evidence, Lastly, they suggest that, but for Snyder’s
work productjudgment, the litigation would have ended long ago. Doclcet, at Paper 632. I am unable to accept any
of these theories, finding as l do that they are pure speculation, unsupported by anything in the record before me.

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